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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

 

BUTTE DIVISION
UNITED STATES OF AMERICA,
CR 21-30-BU-DLC

Plaintiff,

vs. FINDINGS &
RECOMMENDATION

WILLIAM ORVILLE DESHAW III, CONCERNING PLEA

Defendant.

 

The Defendant, by consent, has appeared before me under Fed. R. Crim. P.
11 and has entered a plea of guilty to one count of false statements during a
firearms transaction, in violation of 18 U.S.C. § 922(a)(6), as set forth in the
Information Charging (Doc. 1).

After examining the Defendant under oath, I have made the following

determinations:

1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

2. That the Defendant is aware of the nature of the charge against him and

consequences of pleading guilty to the charge,
3. That the Defendant fully understands his constitutional rights, and the

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extent to which he is waiving those rights by pleading guilty, and

4. That the plea of guilty is a knowing and voluntary plea, supported by an
independent basis in fact sufficient to prove each of the essential elements of the
offense charged.

The Court further concludes that the Defendant had adequate time to review
the Plea Agreement with counsel, that he fully understands each and every
provision of the agreement and that all of the statements in the Plea Agreement are
true. Therefore, | recommend that the Defendant be adjudged guilty of false
statements during a firearms transaction, and that sentence be imposed. I further
recommend that Counts I and III and of the Superseding Indictment be dismissed.

This report is forwarded with the recommendation that the Court defer
a decision regarding acceptance until the Court has reviewed the Plea
Agreement and the presentence report.

DATED this day of 15" day of October, 2021.

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Kathleen L. DeSoto
United States Magistrate Judge
